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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION
                         CIVIL ACTION NO. 5:18-CV-00014-DCR

 STEVEN K. LENOX                                                          PLAINTIFF/
                                                            COUNTERCLAIM DEFENDANT
 v.

 REGIONS BANK                                                            DEFENDANT/
                                                              COUNTERCLAIM PLAINTIFF

                            STIPULATED PROTECTIVE ORDER

       IT IS HEREBY STIPULATED by and between Plaintiff/Counterclaim Defendant, Steven

K. Lenox, and Defendant/Counterclaim Plaintiff, Regions Bank, through their respective attorneys

of record, as follows:

       WHEREAS, documents and information have been and may be sought, produced, or

exhibited by and among the parties to this action relating to trade secrets, confidential research,

development, technology, and/or other proprietary information belonging to the parties, and/or

personal income, credit and other confidential information of Mr. Lenox.

       THEREFORE, an Order of this Court protecting such confidential information shall be and

hereby is made by this Court on the following terms:

       1.      This Order shall govern the use, handling, and disclosure of all documents,

testimony, or information produced or given in this action that are designated to be subject to this

Order in accordance with the terms hereof.

       2.      Any party or non-party producing or filing documents or other materials in this

action may designate such materials and the information contained therein subject to this Order by

typing or stamping “Confidential” on the front of the document, or on the portion(s) of the

document for which confidential treatment is designated.
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        3.      To the extent any motions, briefs, pleadings, deposition transcripts, or other papers

to be filed with the Court incorporate documents or information subject to this Order, the party

filing such papers shall designate such materials, or portions thereof, as “Confidential” and shall

file them with the clerk under seal; provided, however, that a copy of such filing having the

confidential information deleted therefrom may be made part of the public record. Any party

wishing to file confidential information with the Court shall make a motion to the Court for

permission to file under seal, and such motion shall be granted prior to filing the confidential

information.

        4.      All documents, transcripts, or other materials subject to this Order, and all

information derived therefrom (including, but not limited to, all testimony, deposition, or

otherwise that refers, reflects, or otherwise discusses any information designated “Confidential”

hereunder), shall not be used, directly or indirectly, by any person for any business, commercial,

or competitive purposes or for any purpose whatsoever other than solely for the preparation and

trial of this action in accordance with the provisions of this Order.

        5.      Except with the prior written consent of the individual or entity designating a

document or portions of a document as “Confidential,” or pursuant to prior Order after notice, any

document, transcript, or pleading given “Confidential” treatment under this Order, and any

information contained in, or derived from, any such materials (including but not limited to, all

deposition testimony that refers, reflects, or otherwise discusses any information designated

“Confidential” hereunder) may not be disclosed other than in accordance with this Order and may

not be disclosed to any person other than: (a) the Court and its officers; (b) parties to this litigation;

(c) counsel for the parties, whether retained counsel or in-house counsel and employees of counsel

assigned to assist such counsel in the preparation of this litigation; (d) nonparty fact witnesses




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subject to a proffer to the Court or a stipulation of the parties that such witnesses need to know

such information, and who have signed the “Declaration of Compliance” that is attached hereto as

Exhibit A; (e) present or former employees of the producing party in connection with their

depositions in this action (provided that no former employees shall be shown documents prepared

after the date of his or her departure, unless he or she has signed the “Declaration of Compliance”

that is attached hereto as Exhibit A); and (f) experts specifically retained as consultants or expert

witnesses in connection with this litigation who have signed the “Declaration of Compliance” that

is attached hereto as Exhibit A.

       6.      All persons receiving any or all documents produced pursuant to this Order shall

be advised of their confidential nature. All persons to whom confidential information and/or

documents are disclosed are hereby enjoined from disclosing same to any person except as

provided herein, and are further enjoined from using same except in the preparation for and trial

of the above-captioned action between the named parties thereto.           No person receiving or

reviewing such confidential documents or information shall disseminate or disclose them to any

person other than those described above in Paragraph 6 and Paragraph 7, and for the purposes

specified, and in no event shall such person make any other use of such document or transcript.

       7.      Nothing in this Order shall prevent a party from using at trial any information or

materials designated “Confidential.”

       8.      This Order has been agreed to by the parties to facilitate discovery and the

production of relevant evidence in this action. Neither the entry of this Order, nor the designation

of any information, document, or the like as “Confidential,” nor the failure to make such

designation, shall constitute evidence with respect to any issue in this action.




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       9.      Within sixty (60) days after the final termination of this litigation, all documents,

transcripts, or other materials afforded confidential treatment pursuant to this Order, including any

extracts, summaries, or compilations taken therefrom, but excluding any materials which in the

good faith judgment of counsel are work-product materials, shall be returned to the individual or

entity having produced or furnished same, or destroyed.

       10.     In the event that any party to this litigation disagrees at any point in these

proceedings with any designation made under this Protective Order, the parties shall first try to

resolve such dispute in good faith on an informal basis. If the dispute cannot be resolved, the party

objecting to the designation may seek appropriate relief from this Court. During the pendency of

any challenge to the designation of a document or information, the designated document or

information shall continue to be treated as “Confidential” subject to the provisions of this

Protective Order.

       11.     Non-public personal information under the Gramm-Leach-Bliley Act, 15 U.S.C.

§ 6801, et seq. (the “GLBA”), including, but not limited to, borrower names, social security

numbers, account numbers, addresses, or non-public financial information, is considered

confidential regardless of whether the pages containing the non-public personal information are

marked as “Confidential.” Furnishing responses to discovery or testimony that is deemed non-

public information under the GLBA in accordance with the Federal Rule of Civil Procedures and

in compliance with this Order shall be considered “in response to a judicial process” under the

GLBA, 15 U.S.C. §6802(e)(8) and shall fulfill Regions Bank’s duties under the GLBA.

       12.     Nothing herein shall affect or restrict the rights of any party with respect to its own

documents or to the information obtained or developed independently of documents, transcripts,

and materials afforded confidential treatment pursuant to this Order.




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         13.    The Court retains the right to allow disclosure of any subject covered by this

stipulation or to modify this stipulation at any time in the interest of justice.

         16.    The parties agree that if any party inadvertently produces a privileged document,

including documents that are work product and/or are protected by the attorney-client privilege,

the receiving party must return the document to the producing party and destroy all copies

thereof. Pursuant to Federal Rule of Evidence 502(d), a party’s privilege or protection is not

waived by a party’s disclosure connected with this litigation pending before the Court—in

which event the disclosure is also not waived in any other federal or state proceeding.

         17.    The parties agree that documents marked “Confidential” need not contain

redactions required by Federal Rule of Civil Procedure 5.2 when exchanged between the parties.

However, to the extent that the “Confidential” designation is removed from a document and/or

document for any reason is filed with the Court not under seal, the parties will abide by the

redaction requirements set forth in Rule 5.2. This Paragraph does not apply to the parties’

redactions based on privilege.


         IT IS SO ORDERED.


Dated:



                                                 Judge, United States District Court




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Tendered by:

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Have seen and agreed:

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                                      EXHIBIT A

                        DECLARATION OF COMPLIANCE

    1.     I, _____________________________________, declare as follows:

    2.     My address is ________________________________________________.

    3.     My present employer is ________________________________________.

    4.     My present occupation or job description is _________________________.

    5.     I have received a copy of the Stipulated Protective Order entered in this action on

           _______________, 20__.

    6.     I have carefully read and understand the provisions of this Stipulated Protective

           Order.

    7.     I will comply with all provisions of this Stipulated Protective Order.

    8.     I will hold in confidence, and will not disclose to anyone not qualified under the

           Stipulated Protective Order, any information, documents or other materials

           produced subject to this Stipulated Protective Order.

    9.     I will use such information, documents or other materials produced subject to this

           Stipulated Protective Order only for purposes of this present action.

    10.    Upon termination of this action, or upon request, I will return and deliver all

           information, documents or other materials produced subject to this Stipulated

           Protective Order, and all documents or things which I have prepared relating

           thereto, which documents are the subject of the Stipulated Protective Order, to my

           counsel in this action, or to counsel for the party by whom I am employed or

           retained or from whom I received the documents.
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       11.     I hereby submit to the jurisdiction of this Court for the purposes of enforcing the

               Stipulated Protective Order in this Action.

       I declare under penalty of perjury under the laws of the United States that the following is

true and correct.


       Executed this ____ day of _____________, 20__ at __________________.




                                             _______________________________
                                             QUALIFIED PERSON




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing electronically filed document

has been served via a “Notice of Electronic Filing” through the Court’s CM/ECF System to all

parties of record on October 4, 2018.



                                              Zachary M. VanVactor
                                              COUNSEL FOR REGIONS BANK
